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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                  Plaintiff,
                                                                   File No: 1:07-CR-261-06
v.
                                                                   HON. ROBERT J. JONKER
LUELLA CLARK,

                  Defendant.
                                         /


                                  ORDER AND JUDGMENT
                          APPROVING REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed by the United States Magistrate Judge

in this action. The Report and Recommendation was served on the parties, and no objection has been filed

within the time required by law.

         THEREFORE, IT IS ORDERED that:

         1.       The Report and Recommendation of the Magistrate Judge (docket # 87) is approved and

adopted as the Opinion and Findings of this Court.

         2.       Defendant Luella Clark's plea of guilty to Count 1 of the Indictment is accepted. Defendant

Luella Clark is adjudicated guilty and bond will be revoked at the time of reporting.

         3.       Defendant Luella Clark shall report to the United States Marshal in Grand Rapids, Michigan,

at 2:00 p.m., Friday, February 22, 2008. Defendant Luella Clark shall be detained pending sentencing,

based on the mandatory provisions of 18 U.S.C. § 3143(a).

         4.       A decision of whether to accept the written plea agreement will be made at the time of

sentencing after the Court has had the opportunity to review the Presentence Investigation Report. See

U.S.S.G. Ch. 6.




Dated:        February 5, 2008                     /s/ Robert J. Jonker
                                                   ROBERT J. JONKER
                                                   UNITED STATES DISTRICT JUDGE
